Case 2:18-cv-00483-JRG Document 238 Filed 08/18/20 Page 1 of 2 PageID #: 5835




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


LUMINATI NETWORKS LTD.                            §
               Plaintiff,                         §
                                                              Case No. 2:18-CV-00483-JRG
      v.                                          §
BI SCIENCE, INC.,                                 §
               Defendant.                         §


            PLAINTIFF LUMINATI NETWORKS LTD.’S NOTICE OF APPEAL

         Following the July 29, 2020 Notice of Appeal (Dkt. 228) filed by Defendant BI Science

(2009) Ltd., also known as BI Science Inc., Plaintiff Luminati Networks Ltd. (“Luminati”) hereby

respectfully gives notice that it appeals to the United States Court of Appeals for the Federal Circuit

from the Order and Final Judgment entered in this action on July 2, 2020 (the “Final Judgment”) 1,

and from the Court’s December 6, 2020 Order (the “Claim Construction Order,” Dkt. No. 130)

subsumed within the Final Judgment, to the extent that Final Judgment and Claim Construction

Order found claim 108 of U.S. Patent No. 9,241,044 indefinite.




    Dated: August 18, 2020                            Respectfully submitted,

                                                      By: /s/ Korula T. Cherian
                                                      Mark Mann
                                                      Mann | Tindel | Thompson
1
  Luminati and Defendant BI Science (2009) Ltd., also known as BI Science Inc., filed a joint
Motion to Correct the Final Judgment on July 24, 2020 (“Joint Motion,” Dkt. 223) pursuant to
Fed. R. Civ. Pro. 60 to expressly incorporate the finding that claim 108 of U.S. Patent No.
9,241,044 as indefinite. While the Joint Motion is still pending and under Federal Circuit Rule
4(a)(4)(A)(vi) “the time to file an appeal runs for all parties from the entry of the order disposing
of the last such remaining motion,” out of an abundance of caution, Luminati files this Notice of
Appeal with regard to the Final Judgment, and in the event that the Joint Motion is granted, the
corrected Final Judgment.
Case 2:18-cv-00483-JRG Document 238 Filed 08/18/20 Page 2 of 2 PageID #: 5836




                                          300 West Main
                                          Henderson, TX 75652
                                          mark@themannfirm.com
                                          Office 903-657-8540
                                          Cell 903-658-0401
                                          Marshall Office 903-472-4294
                                          Tyler Office 903-596-0900
                                          Waco Office 254-776-3336

                                          Amadou Kilkenny Diaw
                                          Ronald Wielkopolski
                                          RuyakCherian LLP
                                          1901 L St. NW, Suite 700
                                          Washington, DC 20036

                                          Korula T. Cherian
                                          Robert Harkins
                                          RuyakCherian LLP
                                          1936 University Ave, Ste. 350
                                          Berkeley, CA 94702

                                          S. Calvin Capshaw
                                          State Bar No. 03783900
                                          Elizabeth L. DeRieux
                                          State Bar No. 05770585
                                          Capshaw DeRieux, LLP
                                          114 E. Commerce Ave.
                                          Gladewater, TX 75647
                                          Telephone: 903-845-5770
                                          ccapshaw@capshawlaw.com
                                          ederieux@capshawlaw.com

                                          Attorneys for Plaintiff
                                          Luminati Networks Ltd.




                                      2
